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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division

                                              )
UNITED STATES OF AMERICA,
                                              )
                                              )     Case No. 1:24-cr-00249-PTG
       vs.
                                              )
ASIF WILLIAM RAHMAN,                          )
                                              )
       Defendant.                             )
                                              )


                                    NOTICE OF APPEAL

       Defendant Asif W. Rahman hereby notes his appeal pursuant to 18 U.S.C. § 3145(c) and

Federal Rule of Appellate Procedure 9(a) to the United States Court of Appeals for the Fourth

Circuit from the Order directing that Defendant Asif W. Rahman be detained pending trial (Dkt.

No. 29) entered in this Court on December 11, 2024.



Date: December 11, 2024                     Respectfully submitted,

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